        Case 1:21-cr-00392-RCL Document 165 Filed 01/27/23 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 :
                                         :
      v.                                 :       CRIMINAL NO. 21-CR-392-3 (RCL)
                                         :
                                         :
ERIK WARNER                              :


               DEFENDANT WARNER’S MOTION FOR SEVERANCE


      Mr. Erik Warner, through his attorney, Kira Anne West, and pursuant to

Rule14(a) of the Federal Rules of Criminal Procedure, hereby respectfully moves

this Honorable Court for the entry of an Order of severance for trial. Mr. Warner

requests a separate trial be ordered for him apart from co-defendant Alan Hostetter.

In support of this motion, the following is stated:


      Trial in this case is scheduled for July 6, 2023. As this Court well knows,

one of the defendants, Mr. Alan Hostetter, has been allowed to proceed pro se.

Federal Rule of Criminal Procedure 14(a) allows that "[i]f the joinder of offenses

or defendants in an indictment, an information, or a consolidation for trial appears

to prejudice a defendant or the government, the Court may order separate trials of

counts, sever the defendants' trials, or provide any other relief that justice

requires." Mr. Warner believes that by allowing Mr. Hostetter to proceed to trial

pro se with the other five defendants, it will irreparably prejudice Mr. Warner (and
                                             1
        Case 1:21-cr-00392-RCL Document 165 Filed 01/27/23 Page 2 of 5




his co-defendants), in as much as Mr. Hostetter’s lack of legal training and utter

lack of trial experience will likely be seen as unseemly, and/or confuse the jury,

and/or blur the issues before the jury thus compromising Mr. Warner’s right to a

fair trial. And, not knowing the federal rules of criminal procedure and/or the

federal rules of evidence, (which has been illustrated repeatedly in previous status

conferences), the Court or his stand by counsel will have to constantly educate Mr.

Hostetter on these vital rules which will cause undue delay in the trial prejudicing

the other defendants, as well as the prejudicial spillover effect of his false steps,

fumbling, etc.

      Mr. Hostetter "may conduct his own defense ultimately to his own

detriment," Faretta v. California, 422 U.S. 806, 834, 95 S.Ct. 2525, 2541, 45

L.Ed.2d 562 (1976), but his co-defendants should not likewise be deprived of their

right to a fair trial by his doing so. Besides, Mr. Warner never knew who Mr.

Hostetter was until he was indicted in this case. There are no facts that will be

presented at trial that connect Mr. Warner to Mr. Hostetter.

      The U.S. Supreme Court has made clear that severance should be ordered

when "there is a serious risk that a joint trial would compromise a specific trial

right of one of the defendants, or prevent the jury from making a reliable judgment

about guilt or innocence." Zafiro v. United States, 506 U.S. 534, 539 (1993).


                                           2
          Case 1:21-cr-00392-RCL Document 165 Filed 01/27/23 Page 3 of 5




         In United States v.Tucker, 12 F.4th 804, 815-16 (D.C. Cir. 2021) the D.C.

Circuit considered the District Court's decision to deny a defendant's mid-trial

decision to proceed pro se based on potential prejudice to co-defendants. When

affirming the District Court’s decision to deny the defendant’s request to proceed

pro se, The D.C. Circuit observed "A trial involving a pro se defendant and co-

defendants who are assisted by counsel is pregnant with the possibility of

prejudice." Citing United States v. Veteto, 701 F.2d 136, 139 (11th Cir. 1983) Id. at

816. See also, United States v. Maxwell, No. 5:15-cr-35-2, 2017 WL 6055785, at*

1 (M.D. Ga. Feb. 2, 2017)(granting motion to sever where pro se defendant had a

history of disruptive behavior). Severing Mr. Hostetter from the trial of Mr.

Warner and his co-defendants at this time (some five months before

commencement of trial) will undoubtedly provide Mr. Hostetter with additional

time to review discovery and further prepare for his pro se defense at his separate

trial.

         Notwithstanding the presence of stand-by counsel, there is a distinct

possibility that Mr. Hostetter's conduct at trial will be unseemly, confusing and

he will otherwise blur the issues before the jury. This type of prejudice to Mr.

Warner (and to his co-defendants should) not be allowed by this Court. Fed. R.

Crim.P. Rule 14(a) safeguard defendants from the prejudicial effects of joined


                                            3
          Case 1:21-cr-00392-RCL Document 165 Filed 01/27/23 Page 4 of 5




defendants and, as argued herein, even more so when a co-defendant is proceeding

to trial pro se.

        There is precedent for this Court to grant severance in a J6 case. In two

recent cases, United States v. Doolin, 21 CR 447 (CJN)1 and United States v.

James Beeks, 21 CR 00028 (APM)2, severance was granted due to the presence of

a pro se defendant.

        WHEREFORE for the foregoing reasons and such other reasons that may

appear just and proper, defendant Erik Warner, respectfully requests

that his motion for a trial severance be granted and a separate trial be ordered for

him apart from co-defendant Alan Hostetter.3



                                                     Respectfully submitted,

                                                     KIRA ANNE WEST



                                            By:                /s/
                                                     Kira Anne West
                                                     DC Bar No. 993523
                                                     712 H Street N.E., Unit 509
                                                     Washington, D.C. 20002
                                                     Phone: 202-236-2042
                                                     kiraannewest@gmail.com
                                                     Attorney for Mr. Warner


1 See minute order entered January 25, 2023.
2 There has not been a minute order entered on the docket but undersigned counsel spoke to defense counsel for
defendant Beeks who informed her that the motion to sever was granted on the record last week.
3 Undersigned counsel emailed counsel for the government in the late hours this afternoon but did not hear back
from them regarding their position on the motion.
                                                         4
         Case 1:21-cr-00392-RCL Document 165 Filed 01/27/23 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify on the 27th day of January, 2023, a copy of same was delivered to the

parties of record pursuant to the Covid standing order and the rules of the Clerk of Court.

                                                         /S/

                                                     Kira Anne West




                                                5
